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Attorneys for Plaintiffs

                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT, and                           )       No. 01:19-cv-065
WILDEARTH GUARDIANS,                                      )
                                                          )       COMPLAINT
     Plaintiffs,                                          )
                                                          )
     v.                                                   )
                                                          )
U.S. SHEEP EXPERIMENT STATION, and                        )
USDA AGRICULTURAL RESEARCH                                )
SERVICE,                                                  )
                                                          )
     Defendants.                                          )

                                                INTRODUCTION

          1.       This is the latest in a series of actions before this Court seeking to require the

USDA Sheep Experiment Station (“Sheep Station”) to comply with law in its authorization of

domestic sheep grazing within vital habitat for bighorn sheep, grizzly bear, greater sage-grouse

and other wildlife species.

          2.       Specifically, Plaintiffs challenge Defendants’ violations of the National

Environmental Policy Act (NEPA) and the Administrative Procedure Act (APA) in issuing a

July 2017 Final Environmental Statement (FEIS) and July 2018 Record of Decision (ROD) for

the “U.S. Sheep Experiment Station Grazing and Associated Activities Project.” Plaintiffs also



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challenge the “Errata” to the FEIS and ROD, which Defendants used to substantially change

grazing practices without any public disclosure or comment; and the Supplemental Information

Report (SIR) issued along with the ROD, which is also arbitrary and capricious and was relied

upon by Defendants to avoid conducting updated NEPA analysis to assess significant new

information that arose in the year after the FEIS was issued.

       3.       Through the FEIS and ROD, as well as the Errata and SIR, Defendants have

determined to continue domestic sheep grazing on Sheep Station property and federal grazing

allotments without conducting the “hard look” required by NEPA at likely adverse impacts on

bighorn sheep, grizzly bear, and greater sage-grouse; and they relied on misstatements and

speculative assertions to reject reasonable and necessary alternative actions, including ending

Sheep Station grazing in critical wildlife habitats.

       4.       Defendants also avoided evaluating the harmful impacts posed by Sheep Station

grazing in wildlife habitats by claiming that other agencies – principally the Forest Service –

have adequately conducted their own adequate NEPA analyses, which is false.

       5.       For these and other reasons, the Sheep Station FEIS and ROD, as well as the

Errata and SIR, must be reversed and set aside by this Court as violating NEPA and the APA,

and remanded for a fully NEPA-compliant analysis. Plaintiffs reserve the right to seek

injunctive relief to prevent irreparable harm from these violations while Plaintiffs’ claims are

being adjudicated and Defendants come into compliance with law.

                                     JURISDICTION AND VENUE

       6.       Jurisdiction is proper in this Court under 28 U.S.C. §§ 1331 & 1346, because this

action involves federal defendants and arises under the laws of the United States, including

NEPA, 42 U.S.C. §§ 4321 et seq., and the APA, 5 U.S.C. §§ 701 et seq.



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       7.       An actual, justiciable controversy exists between Plaintiffs and Defendants. The

requested relief is proper under 28 U.S.C. § 2201–02 and 5 U.S.C. §§ 701–706. The challenged

agency actions are final and subject to this Court’s review under 5 U.S.C. §§ 702-706.

       8.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because all or a

substantial part of the events or omissions giving rise to the claims herein occurred within this

judicial district, Plaintiff Western Watersheds Project and Defendant Sheep Station reside in this

district, and affected public lands and resources in question are located in this district.

       9.       The federal government has waived sovereign immunity in this action pursuant to

5 U.S.C. § 702.

                                             PARTIES

       10.      Plaintiff Western Watersheds Project (WWP) is an Idaho non-profit corporation,

which is dedicated to protecting and conserving the public lands and natural resources in Idaho

and the American West. WWP is headquartered in Hailey, Idaho, and has additional staff and

offices in Boise and other western states. WWP, as an organization and on behalf of its over

9,500 members and supporters, is concerned with and active in seeking to protect and restore the

wildlife throughout the West, including in Idaho. WWP has an organizational interest in ensuring

the Sheep Station’s compliance with all federal laws, and has participated in prior litigation

against it before this Court.

       11.      Plaintiff WildEarth Guardians (Guardians) is a non-profit organization dedicated

to protecting and restoring the wildlife, wild places, wild rivers, and health of the American

West. Guardians has over 66,000 members and supporters, many of whom have particular

interests in bighorn sheep, grizzly bears, and sage-grouse. Guardians has an organizational




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interest in ensuring the Sheep Station’s compliance with all federal laws, and has participated in

prior litigation against it before this Court.

        12.     Plaintiffs’ and their staff and members have been long-time advocates for wildlife

in the regions affected by the challenged Sheep Station grazing and FEIS/ROD, and have long-

standing concerns about the threats to bighorn, grizzly, and sage-grouse from sheep grazing on

public lands. Plaintiffs have engaged in public outreach and education, advocacy with agencies,

agency administrative processes, and litigation to promote the protection of bighorn sheep,

grizzly bears, and sage-grouse from domestic sheep grazing on public lands and their herders.

        13.     These interests are directly harmed by Defendants’ action challenged herein.

Plaintiffs’ staff and members use and enjoy the public lands in and around the Sheep Station and

its grazing allotments to observe, photograph, and study native species. Plaintiffs and their

members derive recreational, scientific, aesthetic, spiritual, and commercial benefits from the

existence of wild populations of bighorn sheep, grizzly bears, and sage-grouse.

        14.     Plaintiffs will continue to use public lands in and around the areas affected by the

challenged FEIS and ROD in 2019 and beyond, and their interests will continue to be adversely

affected and irreparably injured if Defendants continue to authorize grazing and related Sheep

Station activities without adequate NEPA review. These are actual, concrete injuries caused by

Defendants’ violations of NEPA and the APA that would be redressed by the relief sought.

        15.     Defendant United States Sheep Experiment Station (Sheep Station) is an

agricultural experiment station focusing on domestic sheep.

        16.     Defendant USDA Agricultural Research Service (ARS) is the principal in-house

research agency of the United States Department of Agriculture (USDA). It operates the Sheep

Station and issued the FEIS, SIR, and ROD challenged in this action.



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                           STATEMENT OF RELEVANT FACTS

       A.     The U.S. Sheep Experiment Station

       17.    The Sheep Station was established by ARS in 1915 as a sheep research facility. It

grazes approximately 3,000 mature sheep, which increase to about 6,500 sheep at the end of each

lambing season. All Sheep Station sheep are owned by the University of Idaho (UI).

       18.    As shown by Map 2 from the FEIS (below), Sheep Station lands include a 27,930-

acre Headquarters ranch, the 2,600-acre Humphrey Ranch, and the 1,200-acre Henninger Ranch.

These properties are located north of Dubois, Idaho in wildlife habitat within the Upper Snake

River Plain and the Centennial Mountains. The Sheep Station also owns 16,600 acres in the

Centennial Mountains, which it has split into East and West Summer Ranges.




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       19.     Additionally, as shown on the map above, the Sheep Station utilizes over 30,000

acres of other public land allotments through Memoranda of Understanding with federal

agencies. These include the Mud Lake Feedlot on Department of Energy (DOE) land, and the

Meyers Creek, East Beaver, and Snakey-Kelly Canyons allotments on the Caribou-Targhee

National Forest (“NF”), administered by the U.S Forest Service.

       20.     The Sheep Station also previously utilized the Bernice allotment on Bureau of

Land Management (“BLM”) lands, but as noted below the BLM terminated that grazing

authorization in 2012 because of conflicts with bighorn sheep.

       21.     Much of the land managed and utilized by the Sheep Station is located in and

around the Centennial Mountains—an ecologically important corridor on the west side of

Yellowstone National Park that connects the Park with large wilderness and roadless areas in

Idaho and Montana. These lands and the Centennial Mountains corridor provide habitat for many

sensitive and imperiled wildlife species, including Rocky Mountain bighorn sheep, Greater

Yellowstone Ecosystem grizzly bears, and greater sage-grouse.

       22.     Sheep Station grazing and related activities pose serious threats to these and other

wildlife species, as detailed below—yet the Defendants have consistently refused to recognize

these threats, or the best available science documenting them, in violation of NEPA.

       B.      Procedural Background

       23.     The Sheep Station has a long track record of flouting NEPA and other

environmental laws. As the FEIS itself states, the only reason the current NEPA analysis even

began was because of the lawsuit filed in this Court over a decade ago.

       24.     Specifically, in 2007, Plaintiff WWP and another group brought suit in this Court,

challenging the Sheep Station’s decades-long refusal to comply with NEPA and examine the



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impact of their actions on wildlife. See Complaint, ECF No. 1, Center for Biological Diversity &

Western Watersheds Project v. U.S. Sheep Experiment Station et al., No. 07-cv-0279-E-BLW

(D. Idaho June 25, 2007). The parties reached a settlement in that case requiring completion of a

NEPA analysis by November 28, 2008. Id. ECF Nos. 26 & 26-1 (“2008 Settlement”).

       25.     The Sheep Station failed to meet that deadline. Instead of the NEPA-compliant

final decision required by the 2008 Settlement, the Sheep Station issued an “interim” decision

allowing domestic sheep grazing to continue until 2010 without NEPA analysis.

       26.     In 2009, the delisting of the Greater Yellowstone Ecosystem grizzly bear under

the Endangered Species Act (ESA)was enjoined and vacated. Greater Yellowstone Coal. v.

Servheen, 672 F. Supp. 2d 1105 (D. Mont. 2009), aff’d in part and rev’d in part, 665 F.3d 1015

(9th Cir. 2011). In response, the Sheep Station again extended its authority to graze without

NEPA analysis, but ended grazing in the Summer East and Meyers Creek allotments until NEPA

analysis was completed.

       27.     In July 2011, a Draft EIS (DEIS) was issued for public comment, and a public

tour of the Sheep Station was conducted in August 2011. WWP and other conservation groups

attended this site visit, and Plaintiffs submitted extensive comments on the DEIS.

       28.     Soon after the comment period, BLM notified the Sheep Station that grazing

authorization would lapse in December 2012 on the Bernice allotment, and would not be

renewed. Because of that claimed “changed circumstance,” the Sheep Station initiated a

“supplemental DEIS” process in early 2013.

       29.     Around the same time, FWS issued a Biological Opinion (“BiOp”) under the ESA

addressing Sheep Station activities on grizzly bears, which WWP and others challenged in

litigation before this Court in 2013. See Complaint, ECF No. 1, Cottonwood Envtl. Law Ctr.,



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WWP, et al. v. United States Fish & Wildlife Serv., No. 4:13-cv-235-BLW, (D. Idaho May 17,

2013). A settlement was reached in that litigation in 2014, which required completion of a new

BiOp by June 1, 2014, and prohibited grazing on the Summer East, Summer West, and Meyers

Creek allotments until July 1, 2014. See id., ECF No. 31.

       30.     The 2014 BiOp issued by FWS was subsequently challenged as legally deficient

in another action by WWP and Guardians, among others. Cottonwood Envtl. Law Ctr. et al. v.

U.S. Sheep Experiment Station, No. 9:14-cv-00192-DLC (D. Mont. June 23, 2014). A settlement

agreement was reached in that case after UI determined not to graze sheep in the Meyers Creek

and Summer East and West allotments of the Centennial Mountains pending resolution of legal

issues and completion of necessary environmental reviews. Id., ECF No. 55 & 55-1.

       31.     In March 2016, the Sheep Station issued a “Revised DEIS” for public comment.

Rather than conduct any new public scoping comment period, the Sheep Station considered old

comments from 2011 in developing the March 2016 Revised DEIS.

       32.     Plaintiffs submitted extensive comments on the Revised DEIS, emphasizing that

the Sheep Station needed to fully analyze all adverse impacts of Sheep Station grazing on grizzly

bear, bighorn sheep, and other wildlife, and evaluate a full range of alternatives, including

ceasing all Sheep Station grazing to protect wildlife and other environmental values.

       C.      FEIS, SIR, and ROD/Errata

       33.     In July 2017, Defendants issued the FEIS, which identified “Modified Alternative

1” as the “Preferred Alternative,” and continued “historical and ongoing grazing and associated

activities necessary to achieve the mission of the station.”




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       34.     The FEIS continues numerous factual and legal omissions, misstatements and

errors, and does not comply with requirements of NEPA and the NEPA regulations, as alleged

further herein below.

       35.     Although the Sheep Station apparently planned to issue the ROD shortly after the

FEIS – the cover page of the ROD has a date of September 2017 – it was delayed until July 2018

for unknown reasons. In the interim, significant new information and changed circumstances

arose about Sheep Station activities that were not addressed in the FEIS, including the closure of

the Forest Service Snakey-Kelly allotments in response to Plaintiffs’ litigation before this Court,

Western Watersheds Project & WildEarth Guardians v. United States Forest Service, No. 1:17-

cv-434-CWD, 2017 US Dist. LEXIS 193021 (D. Idaho Nov. 20, 2017).

       36.     On July 23, 2018, Defendants issued the ROD, along with the SIR which

determined that a Supplemental EIS was unnecessary despite the closure of the Snakey-Kelly

allotments and other changes since the FEIS was released in July 2017. Defendants did not

allow public comment on the SIR.

       37.     The ROD adopted the Preferred Alternative from the FEIS, but stated that “minor

adjustments have been made to the decision,” which were determined to be “within the range of

effects analyzed in the FEIS,” according to the SIR.

       38.     The ROD included Appendix C, entitled: “Errata for the Final Environmental

Impact Statement,” which purportedly “clarified” or “corrected” errors in the FEIS, but actually

made significant changes to the FEIS and the adopted alternative regarding sage-grouse –

changes that also were never subjected to public scrutiny.

       39.     The FEIS and ROD failed to analyze direct and indirect effects of Sheep Station

grazing on the Forest Service and DOE lands used for Sheep Station grazing. Instead of



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analyzing such impacts, the FEIS and ROD asserted that the Forest Service and DOE have

prepared their own NEPA analyses for those allotments, and “it is neither required nor

appropriate that the Sheep Station revisit these decisions.”

       40.      However, no NEPA-compliant analyses have been prepared for the Forest Service

and DOE lands used for Sheep Station grazing, according to all public information that Plaintiffs

have found; and it is contrary to fact and law for the Sheep Station to premise its FEIS and ROD

on the assertion that analysis of impacts of Sheep Station grazing on these allotments has been

completed in compliance with NEPA.

       41.      Specifically, the Forest Service has not conducted NEPA-compliant analysis of

Sheep Station grazing on the East Beaver or Meyers Creek allotments. The Forest Service has

found these allotments need NEPA analysis, but scheduled it to be completed in 2019 and 2025

respectively.

       42.      The FEIS and ROD claim that the Sheep Station may utilize the Snakey-Kelly

allotments for grazing. However, because of the high risk of spreading diseases to bighorn

sheep, the Forest Service agreed to settle recent Snakey-Kelly litigation before this Court by

stopping grazing on those allotments until additional environmental analysis is performed. See

Notice of Settlement (ECF No. 44) and Order Approving Settlement (ECF No. 45), WWP v.

Forest Service, No. 1:17-cv-434-CWD (D. Idaho 2018). The Forest Service has not performed

such analysis, and the Snakey-Kelly allotments remain closed to sheep grazing.

       43.      Plaintiffs are informed and believe, and allege thereon, that DOE also has not

conducted any NEPA analysis of Sheep Station grazing on the Mud Lake Feedlot.

       44.      The challenged FEIS and ROD are arbitrary and capricious, and in violation of

NEPA and the APA, by failing to fully analyze potential direct and indirect impacts of grazing in



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the Snakey-Kelly, Meyers Creek, East Beaver Creek, and Mud Lake Feedlot allotments, when

the Forest Service and DOE have not conducted such analysis.

       45.     In adopting the Preferred Alternative, the ROD made false and unsubstantiated

assertions about the lack of significant effects on wildlife, the ability of conservation measures to

mitigate negative effects, and the beneficial effects of Sheep Station activities.

       46.     In truth, the Sheep Station’s grazing and associated activities pose numerous

severe threats to wildlife, which the FEIS and ROD fail to adequately evaluate and assess, and

which the “conservation measures, design features and mitigation” measures set forth in the

ROD cannot ameliorate, as detailed below.

       D.      Rocky Mountain Bighorn Sheep

       47.     North America has lost around 95% of its bighorn sheep and most remaining

herds are small and susceptible to extirpation. One of the primary reasons for this decline is that

bighorn sheep are very susceptible to respiratory disease caused by pathogens carried by

domestic sheep. When domestic sheep transmit this pathogen to bighorns, it triggers large-scale

pneumonia die-offs within bighorn populations and poor lamb survival for many years. The risk

of disease transmission is high because these species are related and gregarious and thus will

seek each other out in the wild. The common occurrence of domestic sheep straying from their

band, and bighorn sheep travelling outside of their normal home range, make it very difficult to

keep the species separated even when their ranges are miles apart and herders are watching.

       48.     The Sheep Station FEIS and ROD dismiss this danger by asserting that Best

Management Practices (“BMPs”) are in place to minimize the risk. Yet, bighorn experts agree

that BMPs such as those used by the Sheep Station are ineffective at keeping bighorn and

domestic sheep separate.



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       49.     The Forest Service and this Court have acknowledged the risk that domestic sheep

present to bighorn sheep and the failure of BMPs to protect bighorn populations on public lands,

See, e.g., Idaho Wool Growers Ass’n v. Vilsack, 7 F. Supp. 3d 1085 (D. Idaho 2014), aff’d 816

F.3d 1095 (9th Cir. 2016); Western Watersheds Project et al. v. BLM et al, No. 4:09-cv-507-

BLW, 2009 WL 3335365 (D. Idaho, October 14, 2009); Western Watersheds Project. v. U.S.

Forest Serv., No. 4:07-cv-151-BLW, 2007 WL 3407679, (D. Idaho, Nov. 13, 2007); Western

Watersheds Project. v U.S. Forest Serv., 2007 WL 1729734, No. 4:07-cv-151-BLW (D. Idaho,

June 13, 2007).

       50.     Most recently, this Court stopped Sheep Station domestic sheep grazing on the

Forest Service’s Snakey-Kelly allotments because of the high risk of disease transmission to the

nearby bighorn population and the unreliability of BMPs. See WWP v. Forest Serv., No. 1:17-cv-

434-CWD, 2017 US Dist. LEXIS 193021 at *35 (D. Idaho Nov. 20, 2017) (noting that (“[e]ven

with flawless execution of BMPs, there is no way the Sheep Station or Forest Service can ensure

that domestic sheep will not wander, and that … rams will not make forays on or near the

allotments while the large herds of domestic sheep are grazing”). BLM previously withdrew

from its agreement with the Sheep Station to graze the Bernice allotment because of the risk to

this same bighorn population and lack of effective BMPs.

       51.     Nevertheless, the Sheep Station FEIS and ROD approved domestic sheep grazing

in and around bighorn sheep habitats, including within the bighorn range overlapping the

Snakey-Kelly allotments, and allowing grazing just over a mile from another herd and within

foray distance of others. The FEIS and ROD improperly minimize the presence of nearby

bighorn sheep populations and disregard these legal and scientific precedents, violating NEPA

and the APA.



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       52.     Additionally, the FEIS’s cumulative effects analysis of Forest Service allotments

found the potential for Sheep Station grazing on the Snakey-Kelly allotments to negatively affect

bighorn sheep, but incorrectly claimed that ending grazing there would not eliminate this risk

because others could take over the allotments. This is untrue, because the Caribou-Targhee

Forest Plan governing these allotments requires grazing to be phased out whenever possible.

       53.     For these and other reasons to be briefed before the Court, the Sheep Station FEIS

and ROD are arbitrary, capricious, and not in accordance with NEPA’s requirements in failing to

fully assess likely impacts to bighorn sheep.

       E.      Grizzly Bear

       54.     The Greater Yellowstone Ecosystem (“GYE”) contains one of the remaining

grizzly populations in the United States, and the GYE grizzly is listed as threatened under the

ESA because of the isolation and lack of connectivity between grizzly bear populations.

       55.     For their long-term survival, GYE grizzlies must be able to intermix with other

grizzly populations to maintain genetic diversity. Therefore, the protection of corridors between

GYE and high-quality habitat in Idaho and Montana is essential for long-term grizzly viability.

       56.     The Centennial Mountains provide just such a corridor for GYE grizzlies.

However, the Sheep Station lands and grazing allotments occupy and fragment this irreplaceable

corridor, negatively impacting grizzlies and other wildlife.

       57.     The Meyers Creek allotment is inside the Grizzly Primary Conservation Area, and

a 2012 FWS Biological Opinion found Sheep Station use of Meyers Creek and East Summer

Range was “likely to adversely affect” the grizzly bear.

       58.     BLM has also noted the likelihood of adverse effects to grizzly bears by Sheep

Station grazing in the East and West Summer Ranges, Humphrey Ranch, Henninger Ranch, and



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the East Beaver and Meyers Creek allotments. These adverse effects threaten individual

grizzlies and the entire GYE grizzly population.

       59.     The Sheep Station FEIS and ROD never objectively examined the potential

impacts of grazing on individual grizzlies. Instead, they identified a list of BMPs that the Sheep

Station claims will reduce or eliminate conflicts with grizzlies. The FEIS also asserted these are

nondiscretionary measures, but there is no mechanism to enforce or monitor them in place.

       60.     The FEIS and ROD failed to present any evidence that these BMPs have been

proven effective or are supported by empirical evidence, and many of them mirror the BMPs that

this Court and others have repeatedly held were inadequate to prevent contact between bighorn

and domestic sheep.

       61.     The ability of BMPs to keep grizzlies away from domestic sheep—a popular food

source, especially now that whitebark pine seeds are less abundant—is also questionable.

Without evidence, BMPs cannot be used to claim that potential conflicts would be ameliorated.

       62.     The Sheep Station FEIS focused on three forms of grizzly conflicts with sheep:

grizzlies becoming food conditioned, killing sheep, and attacking herders. But, if these occur, the

Sheep Station claims adverse impacts to grizzlies are unlikely and would barely impact

individual grizzlies or the population. This claim is based on unsupported assumptions and

misleading claims.

       63.     Furthermore, the FEIS arbitrarily dismissed the possibility of poaching, asserting

that Sheep Station herders are federal employees and have less personal interest in protecting

their sheep and livelihood than ranchers. The Sheep Station ignores, however, that if conflicts

with grizzlies result in closing these allotments, the FEIS states the Sheep Station will fire the

herders and hire researchers. Accordingly, there is a strong incentive for herders to not report



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contacts with grizzlies and kill them. Many hypothesize that this is exactly what occurred in

2012 when a grizzly’s telemetry collar was found cut off on a Sheep Station allotment and a

spent casing was found where the Sheep Station herders had been camped.

       64.     The Sheep Station also failed to account for the fact that as the GYE grizzly bear

population increases, more bears need to move into and through the area. The FEIS

acknowledges that the GYE grizzly has expanded its range, distribution, and numbers and that

the GYE population is approaching carrying capacity. Nevertheless, the FEIS uses decade-old

data to claim that there will be minimal grizzly conflicts.

       65.     The FEIS asserted that no mortality or change in habitat use will occur from the

Sheep Station activities because, as claimed above, BMPs will ameliorate any conflicts.

However, some BMPs, such as hazing, are specifically designed to make grizzlies avoid the area.

       66.     The FEIS and ROD further dismiss the importance of Sheep Station allotments to

the expansion of grizzly range. Sheep Station grazing areas, however, occupy much of the center

and elevated portion of a narrow wildlife corridor that is crucial to allowing the GYE grizzly

bear to spread to other suitable habitats and improve the species’ genetic diversity. The 10%

comprised of the Sheep Station land serves as a chokepoint damaging the ability of grizzlies to

expand into Idaho and Montana.

       67.     For these and other reasons to be briefed before the Court, the Sheep Station FEIS

and ROD are arbitrary, capricious, and not in accordance with NEPA’s requirements in failing to

fully assess likely impacts to grizzly bear.

       F.      Greater Sage-Grouse

       68.     Greater sage-grouse populations have been decimated by habitat degradation and

fragmentation as is well-known to this Court from prior cases. See, e.g., W. Watersheds Project



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v. Jewell, 56 F. Supp. 3d 1182 (D. Idaho 2014); W. Watersheds Project v. Salazar, No. 08-cv-

516-BLW, 2011 WL 4526746 (D. Idaho 2011); W. Watersheds Project v. U.S. Fish and Wildlife

Serv., No. 06-cv-277-BLW, 535 F. Supp.2d 1173 (D. Idaho 2007).

       69.     Sheep Station Headquarters, Humphrey Ranch, and Henninger Ranch, as well as

the Mud Lake Feedlot and parts of the Snakey-Kelly and East Beaver allotments, are located in

priority sage-grouse habitats as identified by the Idaho Department of Fish and Game (IDFG),

and by federal agencies (BLM and Forest Service) through their 2015 National Greater Sage-

grouse Planning Strategy and associated land use plan amendments.

       70.     Headquarters, in particular, plays an important role for sage-grouse populations in

the area, as it contains breeding sites (leks) and associated pre-nesting, nesting, and brood-

rearing habitats. Accordingly, when Sheep Station actions threaten sage-grouse, they do so on

some of the most important sage-grouse habitat in the state and the country.

       71.     These threats come from sheep presence and grazing, fencing, prescribed burns,

and other habitat disturbances. The Sheep Station’s FEIS and ROD make token attempts to

address these issues, but fail to take a true “hard look” at the problems and instead present one-

sided discussions that minimize or avoid well-documented science and studies contrary to the

Sheep Station’s views.

       72.     For example, fences and structures pose numerous hazards to sage-grouse,

particularly when they are near leks and other important habitats or when they bisect movement

corridors, because sage-grouse avoid areas with high predation risks and can be killed by fences.

       73.     The FEIS disclosed that there are 180 miles of pasture fence on the Headquarters,

Humphrey, and Henninger properties; but the FEIS and ROD misleadingly assert that these

fences do not pose a large threat to sage-grouse, including by ignoring the facts that fences are



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immediately adjacent to numerous leks, and few if any leks are more than a half-mile from

fences, raising the likelihood that sage-grouse nesting and brood-rearing habitats are adversely

impacted.

       74.     Additionally, even though the majority of the BLM land surrounding the

Headquarters is part of a Sagebrush Focal Area, the Sheep Station did not consider the impact of

having their outer fences right next to this valuable breeding territory, and the FEIS provided no

data on leks on the outside edges of the Sheep Station borders.

       75.      Furthermore, sage-grouse often migrate from their breeding grounds on and

around the Headquarters property. Migrating birds, especially those which have to cross the

southern section of Headquarters, will have to cross numerous fences, further exposing this

vulnerable species to unnecessary risk that the Sheep Station failed to consider.

       76.     The FEIS and ROD assert that risks posed to sage-grouse from fences will be

reduced or eliminated by implementing BMPs, such as adding reflectors to fences near leks and

in estimated flight zones; but fence markers only eliminate a portion of the sage-grouse collision

deaths and BMPs fail to address adverse impacts such as increased predation and sage-grouse

avoidance or abandonment of nesting and brood-rearing habitats from fence fragmentation

impacts.

       77.     The impact on sage-grouse habitat usage and availability—caused by sheep

destroying sage-grouse habitat and sage-grouse instinctively avoiding grazing areas—is another

harm the FEIS and ROD fail to fully address; instead, they assert that BMPs will make grazing

“beneficial” to sage-grouse. Again, the Sheep Station’s reliance on such BMPs lacks substantial

scientific support or validation, and fails to acknowledge the extensive agency and independent

science on sage-grouse habitats and adverse grazing impacts.



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        78.     Moreover, in the Errata attached to the ROD, the Sheep Station removed a major

BMP that required sheep grazing to avoid leks, nesting areas, and early brood-rearing areas

during the lekking, nesting, and brooding seasons. This substantial change in the proposed action

did not undergo public comment, and violates NEPA.

        79.     For these and other reasons to be briefed before the Court, the Sheep Station FEIS

and ROD (including the Errata) are arbitrary, capricious, and not in accordance with NEPA’s

requirements in failing to fully assess likely impacts to sage-grouse.

        G.      Exaggerated Impacts of Closing Allotments

        80.      Defendants further violated NEPA and the APA by exaggerating the alleged

impacts of closing allotments under alternatives not chosen in the ROD.

        81.     Proposed modified alternative 5 would have stopped the Sheep Station from

grazing in the Snakey-Kelly allotments. In dismissing alternative 5, the Sheep Station repeatedly

asserted that being unable to graze in Snakey-Kelly would require reducing the sheep herd by

40%, severely limiting research. As addressed above, however, the Sheep Station was stopped by

the prior litigation in this Court from grazing in the Snakey-Kelly allotments until the Forest

Service completes a NEPA analysis, which has not occurred. The FEIS and ROD failed to

address this key fact in rejecting modified alternative 5.

        82.     The Sheep Station says its ideal herd size ranges from 1,500 to 3,000 mature

sheep depending on research needs. Accordingly, without the Snakey-Kelly allotments, the

Sheep Station should have been forced to reduce their herd to a maximum of 1,800 sheep, but

apparently has not done so, thus illustrating the false or misleading nature of the Sheep Station’s

justification for rejecting alternative 5.




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       83.     Furthermore, the Sheep Station determined in the SIR that the inability to graze

on Snakey-Kelly would not substantially affect the proposed action, and thus did not require

supplementary analysis, even though the FEIS earlier claimed its loss would seriously impede

the Sheep Station’s mission.

       84.     Additionally, proposed modified alternative 3 would have stopped the Sheep

Station from grazing on the East Summer Range, West Summer Range, and Humphrey Ranch

east of Beaver Creek, as well as on the East Beaver and Meyers Creek allotments. In dismissing

alternative 3, the Sheep Station repeatedly asserted that being prevented from grazing sheep in

these areas would force their herd to be reduced by 50% and severely limit research.

       85.     However, the Sheep Station has not used the East and West Summer Allotments

since 2009 and 2012, respectively; and the Meyers Creek allotment has not been used since 2012

either. While this still allows use of Humphrey Ranch and the East Beaver allotment, and thus is

unlikely to require the full 50% reduction that the FEIS claimed would be required by alternative

3, it still would likely have resulted in some forced reduction of sheep if the FEIS’s claims were

accurate, particularly when combined with the loss of the Snakey-Kelly allotments.

       86.     In actuality, even with both these events that the FEIS claimed would severely

limit the Sheep Station’s sheep population and research, the Sheep Station website, last updated

on June 26, 2018, says the Sheep Station “currently has approximately 3,000 mature sheep.” This

is the maximum amount that the Sheep Station has said it could use for research at any time, and

demonstrates that multiple allotments could be – and were – closed without impacting the

research sheep population at all, contrary to what the FEIS asserted.

       87.     Additionally, the Sheep Station repeatedly claims that many of its grazing

allotments are crucial because closing them would require housing sheep at the Mud Lake



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Feedlot—an act that would allegedly interfere with the utility of Sheep Station research.

However, when the Snakey-Kelly allotments were closed, removing most of the Sheep Station’s

winter grazing areas, the Supplemental Information Report did not state that the sheep would be

housed at Mud Lake. Instead it stated that UI, which owns the sheep, would relocate the herd

during that period. This again demonstrates, contrary to assertions made throughout the FEIS and

ROD, that the Sheep Station allotments are not crucial to ensuring continued Sheep Station

grazing. Private allotments are available to fill gaps in the Sheep Station’s seasonal grazing and a

system is already in place to facilitate that transfer.

        88.     The Sheep Station FEIS also alleges that all alternatives (aside from the

“preferred” alternative) impermissibly interfere with research—going so far as claiming that

under alternative 2 “research would essentially be terminated,” even though the FEIS later stated

that the Sheep Station would hire additional researchers under alternative 2 to replace herders.

One of the primary justifications for this claimed interference is the alleged importance of the

wide range of habitats available on different Sheep Station lands.

        89.     However, an independent analysis performed by Dunrovin Ranch and Research

on Sheep Station research produced between 2000 and 2015 found that the Sheep Station only

published three papers requiring land in the Centennials, all of which could have been conducted

elsewhere. Additionally, they found no studies on range assessment, range management

techniques, or sheep husbandry economics that were specific to producers using pastures similar

to those in the Centennials.

        90.     This means that all the Sheep Station research during that period was broadly

applicable and was not narrowly limited to being useful only in similar ecosystems. Accordingly,

the similarity of the Sheep Station grazing lands to the majority of sheep grazing lands is



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irrelevant, because generally applicable research can be done elsewhere. This further

undermines the Sheep Station’s stated reasons for keeping the allotments open.

                                FIRST CLAIM FOR RELIEF
                             FEIS And ROD Violate NEPA & APA

       91.     Plaintiffs reallege and incorporate by reference the preceding paragraphs.

       92.     This First Claim for Relief challenges Defendants’ violations of NEPA, 42 U.S.C.

§§ 4321 et seq., and NEPA’s implementing regulations, 40 C.F.R. § 1501 et seq., in adopting the

Sheep Station FEIS and ROD. Plaintiffs bring this claim pursuant to the judicial review

provisions of the APA, 5 U.S.C. § 706.

       93.     One of NEPA’s fundamental goals is to “promote efforts which will prevent or

eliminate damage to the environment and biosphere and stimulate the health and welfare of

man.” 42 U.S.C. § 4321. Accordingly, a federal agency must consider alternatives to the

proposed action and evaluate and disclose all environmental impacts. 40 C.F.R. §§ 1502.14(a) &

1508.9. Impacts include direct, indirect, and cumulative effects of the proposed action and its

alternatives on ecological, aesthetic, historic, cultural, economic, social, and health interests. 40

C.F.R. §§ 1508.7 & 1508.8.

       94.     NEPA’s purpose is “to foster excellent action,” and the “NEPA process is

intended to help officials make decisions that are based on an understanding of environmental

consequences, and take actions that protect, restore, and enhance the environment.” 40 C.F.R. §

1500.1(c). The NEPA process requires that “environmental information is available to public

officials and citizens before decisions are made and before actions are taken.” Id. at 1500.1(b).

       95.     Information that agencies are required to gather and disclose during the NEPA

process “must be of high quality.” Id. “Accurate scientific analysis, expert agency comments,

and public scrutiny are essential to implementing NEPA.” Id.

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          96.   The scope of NEPA review is quite broad, including disclosure and consideration

of all reasonable alternatives, 40 C.F.R. § 1502.14(a). The federal agency must “[r]igorously

explore and objectively evaluate all reasonable alternatives, and for alternatives which were

eliminated from detailed study, briefly discuss the reasons for their having been eliminated”;

“[d]evote substantial treatment to each alternative considered in detail including the proposed

action”; and “[i]nclude reasonable alternatives not within the jurisdiction of the lead agency.” 40

C.F.R. § 1502.14(a)-(c).

          97.   As alleged hereinabove, and as will be presented in further briefing before the

Court, the FEIS and ROD violate NEPA’s requirements and the APA in multiple ways, including

but not limited to the following:

          A.    Failing to take a “hard look” in a scientifically and factually valid manner at likely

impacts of Sheep Station activities upon bighorn sheep, grizzly bear, and sage-grouse, among

others;

          B.    Misstating and exaggerating the impacts of closing allotments under the non-

preferred alternatives, in order to justify selecting the preferred/chosen alternative;

          C.    Making false or misleading statements, unsupported assumptions, and other errors

and omissions in addressing potential impacts and alternatives;

          D.    Improperly relying on unproven and inadequate BMP’s to minimize likely

impacts to wildlife and justify choosing the preferred alternative; and/or

          E.    Avoiding conducting an analysis of direct and indirect effects of Sheep Station

grazing by falsely asserting that the Forest Service and DOE have conducted such analysis for

allotments within their jurisdictions.




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       98.      Accordingly, the FEIS and ROD are arbitrary, capricious, an abuse of discretion,

not in accordance with law, without observance of procedure required by law, and/or in excess of

statutory jurisdiction, authority, or limitations within the meaning of the judicial review

provisions of the APA; and must be held unlawful and set aside under 5 U.S.C. 706(2).

       WHEREFORE, Plaintiffs pray for relief as set forth below.

                              SECOND CLAIM FOR RELIEF:
                       Errata To FEIS and ROD Violates NEPA & APA

       99.      Plaintiffs reallege and incorporate by reference the preceding paragraphs.

       100.     This Second Claim for Relief challenges Defendants’ use of the “Errata” to the

ROD and FEIS to modify sheep grazing in sage-grouse habitats in significant ways that were

never publicly disclosed and for which public comment was not allowed, in violation of NEPA

and the APA. Plaintiffs bring this claim pursuant to the judicial review provisions of the APA, 5

U.S.C. § 706.

       101.     Under NEPA and its implementing regulations, Defendants are obligated to

provide for public notice and comment on their proposed action(s) and alternatives through a

NEPA-compliant analysis, in this case an EIS.

       102.     Defendants unlawfully modified the preferred alternative in the FEIS, and the

chosen alternative in the ROD, through use of the “Errata” that substantially altered sheep

grazing requirements in sage-grouse habitats, contrary to well-established science and without

public notice or comment.

       103.     Accordingly, by adoption of the unlawful Errata, the FEIS and ROD are arbitrary,

capricious, an abuse of discretion, not in accordance with law, without observance of procedure

required by law, and/or in excess of statutory jurisdiction, authority, or limitations within the




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meaning of the judicial review provisions of the APA; and must be held unlawful and set aside

under 5 U.S.C. 706(2).

                               THIRD CLAIM FOR RELIEF:
                                SIR Violates NEPA & APA

       104.    Plaintiffs reallege and incorporate by reference the preceding paragraphs.

       105.    This Third Claim for Relief challenges Defendants’ use of the SIR to avoid

conducting complete NEPA analysis before issuing the ROD, despite significant new

information and changed circumstances that arose during the year-long delay between when the

FEIS and ROD were issued. Plaintiffs bring this claim pursuant to the judicial review provisions

of the APA, 5 U.S.C. § 706.

       106.    Under NEPA and its implementing regulations, Defendants are obligated to

ensure that their Sheep Station ROD was based on fully NEPA-compliant analysis, including by

allowing public comment upon their whole NEPA analysis used to support the ROD.

       107.    Defendants issued the SIR at the same time as the ROD, without public notice or

comment, to contend the July 2017 FEIS was adequate and no new or supplemental NEPA was

required, despite the year-long delay in issuing the ROD after the FEIS. During that year,

significant new information and changed circumstances did arise that warranted a supplemental

EIS, including this Court’s ruling that the Snakey-Kelly allotments pose a high risk to bighorn

sheep and BMPs would not sufficiently reduce that risk, and the resulting closure of the Snakey-

Kelly allotments. The SIR failed to mention the Court’s decision.

       108.    The SIR was arbitrary and capricious in concluding that the FEIS was adequate,

when it was not; and Defendants further violated NEPA and the APA by not allowing public

notice and comment before approving the ROD based on the faulty SIR.




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       109.    Accordingly, the SIR and the ROD are arbitrary, capricious, an abuse of

discretion, not in accordance with law, without observance of procedure required by law, and/or

in excess of statutory jurisdiction, authority, or limitations within the meaning of the judicial

review provisions of the APA; and must be held unlawful and set aside under 5 U.S.C. 706(2).

                                     PRAYER FOR RELIEF
   WHEREFORE, Plaintiffs respectfully request that the Court:

   a) Declare, order and adjudge that the challenged Sheep Station FEIS and ROD violate

NEPA and the APA for any or all of the reasons set forth above;

   b) Declare, order and adjudge that the challenged SIR also violates NEPA and the APA;

   c) Reverse and set aside the challenged FEIS, SIR, and ROD for violating NEPA and the

APA, and remand for completion of a timely NEPA-compliant EIS and ROD;

   d) Enter such preliminary and/or permanent injunctive relief as Plaintiffs pray for hereafter;

   e) Award Plaintiffs their reasonable attorney fees, costs, and litigation expenses, under the

Equal Access to Justice Act, and/or any other applicable provision of law; and

   f) Grant such further and additional relief as the Court deems just and proper in order to

remedy the violations of law alleged herein and to protect the interests of the Plaintiffs, the

public, and the public lands and wildlife resources at issue.

   DATED: February 20, 2019                    Respectfully submitted,

                                               /s/ Laurence (“Laird”) J. Lucas
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